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                        EXHIBIT C Discovery Email Chain Page 1 of 4                               Exhibit C

From: Shane Perry [mailto:Shane@collumperry.com]
Sent: Thursday, July 05, 2018 4:10 PM
To: Jeffrey A. Bunda; Katherine Payne
Subject: Rule 37 Letter regarding discovery

Jeff,

Please see the attached letter regarding the Defendant STS’s responses to discovery. I am emailing it so
you receive it as quickly as possible. If you would like for me to send it by snail mail, please let me know.

Thank you,
Shane

M. Shane Perry
Partner
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ESSE QUAM VIDERI



From: Jeffrey A. Bunda [mailto:jeff.bunda@hutchenslawfirm.com]
Sent: Thursday, July 05, 2018 5:26 PM
To: Shane Perry; Katherine Payne
Subject: RE: Rule 37 Letter regarding discovery

I do not need it by snail mail. I will have a response to you tomorrow.

Jeffrey A. Bunda | Associate Attorney
jeff.bunda@hutchenslawfirm.com

Hutchens Law Firm
6230 Fairview Road, Suite 315 | Charlotte, NC 28210
P.O. Box 12497 | Charlotte, NC 28220-2497
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From: Jeffrey A. Bunda [mailto:jeff.bunda@hutchenslawfirm.com]
Sent: Friday, July 06, 2018 2:33 PM
To: Shane Perry; Katherine Payne
Subject: RE: Rule 37 Letter regarding discovery

Shane just wanted to let you know I may have been a bit overzealous in my suggestion I could get this to
you today – I had a fire to put out this morning and an answer due in another case, but I’ll be working on
it. I’d say Monday but I’ll be in Macon County all day for Court.
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Just wanted to temper your expectations.

Jeffrey A. Bunda | Associate Attorney
jeff.bunda@hutchenslawfirm.com

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From: Shane Perry [mailto:Shane@collumperry.com]
Sent: Friday, July 06, 2018 2:36 PM
To: Jeffrey A. Bunda; Katherine Payne
Subject: RE: Rule 37 Letter regarding discovery

I understand. I was talking with Katie about it this morning and I don’t know how we are supposed to get
our depositions done in time for a deadline on dispositive motions. I have about 7 depos to take.
Certainly I should be able to make a dispositive motion after that. I have to wait for discovery responses
to know whom to depose. So the timeline is just too tight. We need to discuss this after the discovery
responses are worked out.




From: Jeffrey A. Bunda [mailto:jeff.bunda@hutchenslawfirm.com]
Sent: Friday, July 06, 2018 2:49 PM
To: Shane Perry
Subject: RE: Rule 37 Letter regarding discovery

7 depos to take? Seriously?? Shane this is a stay violation case that turns on one thing and one thing
alone – Did Ricky Penley call my law firm between December 16, 2011 and December 20, 2011? If he
did, we have a trial on damages. If he didn’t, we get summary judgment. Plain and simple.

To cut to the chase, do you have anything that shows Mr. Penley called in between December 16th and
December 20th, 2011? We simply do not. What we do have, and I will detail this more in the
supplement to my response (as well as our forthcoming dispositive motion, which I have ready to file) is
that he called in early October 2011 with regard to the first bankruptcy and then in March 2012 with
regard to his bankruptcy and involving another file my firm was handling. The business record
concerning that call references the fact that his wife’s house “was sold during the stay” and he calls back
later saying “he’s going to call an attorney” (paraphrasing, of course) but never says “yeah, I called last
December and you went to sale anyhow.”

So, do you have proof that he called?

Jeffrey A. Bunda | Associate Attorney
jeff.bunda@hutchenslawfirm.com
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From: Shane Perry [mailto:Shane@collumperry.com]
Sent: Friday, July 06, 2018 2:55 PM
To: Jeffrey A. Bunda
Cc: Katherine Payne
Subject: RE: Rule 37 Letter regarding discovery

Yes, he will testify. And we will have more evidence after depositions. I am not relying on opposing
counsel’s interpretation of the status of this proceeding or its limitations. We are deposing everyone we
feel necessary to gather the appropriate evidence to prove our case. You must understand this.

I cannot discuss timelines today, but I should be able to Monday.

Shane




From: Jeffrey A. Bunda [mailto:jeff.bunda@hutchenslawfirm.com]
Sent: Friday, July 06, 2018 2:57 PM
To: Shane Perry
Cc: Katherine Payne
Subject: RE: Rule 37 Letter regarding discovery

As I told you before, I will be in Court in Macon County all day Monday. But expect our supplements
Tuesday and if you’d like to discuss, I’m of course happy to hear you out.

Have a nice weekend.

Jeffrey A. Bunda | Associate Attorney
jeff.bunda@hutchenslawfirm.com

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From: Shane Perry
Sent: Thursday, July 12, 2018 1:53 PM
To: 'Jeffrey A. Bunda'
Cc: Katherine Payne
Subject: RE: Rule 37 Letter regarding discovery
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Jeff,

We have not received any supplements to your client’s discovery responses. I need to file a motion to
compel and I plan to ask the court to stay the scheduling order until I can depose the parties. Does your
client consent to staying the scheduling order?

Thanks,
Shane




From: Shane Perry
Sent: Thursday, July 12, 2018 2:31 PM
To: 'Jeffrey A. Bunda'
Cc: Katherine Payne
Subject: RE: Rule 37 Letter regarding discovery

Jeff,

I think a motion amending the scheduling order is more proper. Please let me know if your client will
consent to that.

Shane
